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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  CITIZENS UNITED,

                           Plaintiff,

                    v.                                 Civ. A. No. 21-2340-CKK


  U.S. DEPARTMENT OF STATE,

                           Defendant.


                                        JOINT STATUS REPORT

         Pursuant to the parties’ Joint Status Report dated April 15, 2022 (ECF 13), Plaintiff

 Citizens United and Defendant the U.S. Department of State (“Department”) submit this joint

 status report:

       1.         This case involves a Freedom of Information Act (“FOIA”) request submitted by

Plaintiff on July 9, 2021. As previously reported, the parties have reached in agreement to

narrow the scope of the request, which now seeks the following records:

       All emails, memos and/or letters to or from or drafted by the following current or former
       State Department Wuhan Consulate or U.S. Embassy China employees: B. Jamison
       ‘Jamie’ Fouss; Russell Westergard; Christopher Green; Henley Jones; Charles
       Montgomery; Sarah Nelson; Michael Dubray; Damian Richard; David Nicholas; Xenis
       Jones; Scott Tolsma; Kathleen Hare; Nikolas Trendowski; Joel Christensen; Michael
       Escalona; Richard Jo; and/or Brian ‘Rick’ Switzer including any of the following terms:
       Wuhan Municipal Health Commission (WMHC); Wuhan Institute Of Virology (WIV);
       Laboratory; Biological; Bio-Safety; Bioresearch; Rick Switzer; Dr. Li Wenliang; World
       Health Organization; Dr. Tedros Adhanom Ghebreyesus; Dr. Anthony Fauci; Dr. George
       Gao; or Dr. Zunyou Wu.

Pursuant to the parties’ narrowing agreement, the Department has run proximity searches for the

phrases “Laboratory,” “Biological,” and “World Health Organization” using the terms “virus,”

“leak,” “coronavirus,” and “covid.” Proximity searches are necessary due to the high hit counts
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generated by the standalone searches for the phrases “Laboratory,” “Biological,” and “World

Health Organization.” The date range of this request is October 15, 2019 to March 1, 2020.

       2.       Since the filing of the parties’ last Joint Status Report, the Department has made

two productions of non-exempt, responsive material. On May 9, 2022, the Department made its

second interim production, releasing seven records in part. On June 21, 2022, the Department

made its third interim production, releasing two records in part. The Department anticipates

making its next production on August 1, 2022, and every six weeks thereafter. State will

endeavor, in good faith, to process as many records as possible during each six-week period.

This schedule is reasonably calculated to provide documents responsive to Plaintiff’s request

while accounting for the significant limitations on State’s present resources. State intends to

conduct searches for records on its classified systems once it has finished processing the

unclassified records that are responsive to Plaintiff’s FOIA request.

       3.       Pursuant to the Court’s June 20, 2022 Minute Order, the parties will file a further

joint status report by October 16, 2022, to update the Court on the status of this FOIA litigation.

Dated: July 18, 2022                             Respectfully submitted,

                                                 MATTHEW M. GRAVES, D.C. Bar #481052
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